Case 04-10427-reg Doc 603-1 Filed 04/07/05

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Page 8 of 15

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Case 04-10427-reg Doc 603-1 Filed 04/07/05 Page 9 of 15

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Case 04-10427-reg Doc 603-1 Filed 04/07/05

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Case 04-10427-reg Doc 603-1 Filed 04/07/05

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